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                        UNITED STATES COURT OF APPEALS
                                           FOR THE
                              SECOND CIRCUIT
                _____________________________________________

        At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
6th day of December, two thousand twenty-four.

________________________________________

  Structured Asset Sales, LLC,

               Plaintiff - Appellant,
                                                               ORDER
  v.                                                           Docket No: 23-905
  Edward Christopher Sheeran, personally known as Ed
  Sheeran, Sony/ATV Music Publishing, LLC, Atlantic
  Recording Corporation, DBA Atlantic Records, BDi
  Music Ltd., Bucks Music Group Ltd., The Royalty
  Network, Inc., David Platz Music (USA) Inc., Amy
  Wadge, Jake Gosling,

             Defendants - Appellees.
  _______________________________________


        Appellant, Structured Asset Sales, LLC, filed a petition for panel rehearing, or, in the
alternative, for rehearing en banc. The panel that determined the appeal has considered the
request for panel rehearing, and the active members of the Court have considered the request for
rehearing en banc.


       IT IS HEREBY ORDERED that the petition is denied.


                                                    FOR THE COURT:
                                                    Catherine O'Hagan Wolfe, Clerk
